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                          IN THE UNITED STATES DISTRICT COURT
                                        FUR THE
                                     THIRD CIRCUIT

Rabman R. Fulton
     (Petitioner    5
                                                 Civil Action No. 18-16526—(SRC)
V
                                                 Crim. No. 13-CR-261-(SRC)

United States of America


            —           PETITIONER’ S MOTION FOR DEFAULT JUDGMENT;
                           IN LIGHT OF THE GOVT. NOT RESPONDING
                            TO PETITIONER’S MOTION 91) EXPEDITE
    •

             —•                   BY THE RULES OF THE COURT
             -4-
                             (FED.R.PROCD. “4.1”, 5 AND RULE 55)


         Nowfore the Court, Petitioner Rahinan Fulton’s pro se Motion to Compel
the Courtto GRANT a default judgment due to the Govt. not following the Rules
of tite Court; 4.1 Motion to Expedite (and pursuant to Rules 5 and 55) and
in support of this motion states the following:

         1) Petitioner filed a Motion to Expedite due to “extraordinary and compelling
circumstances”, affecting Petitioner’s case because of the recent ruling in
(U.S. v. Davis) No. 18431; subsequently reducing Petitioner’s sentence and
guideline range downward to time-served. (Motion dated July 9, 2019 and filed
with the Court).
     2) Per the Federal Rules of Civil Procedure, the Govt. fully understands
that under Rule 4.1, they have seven (7) days to file a response after the
service of the Motion; which has not been done at the time of this Motion
being filed for Default Judgment.
     3) Petitioner, by way of proof provided, (See Attachment #1) that his
motion was actually docketed on July 18th, 2019 at 3:32 PM EDT; and such date,
is the date that Petitioner makes such claims for Default to be “GRANTED”
in this case. (Note: The Court filed Petitioner’s Motion on July 11th, 2019).
     4) By the Rules of Procd, under 4.1; if the Govt. does not reply within
the allotted timeline per the Rules, then the Govt. is effectively waiving
 any and all claims profferred by Petitioner; thus allowing per the Rules of
    the Court, the Jurisdiction and authority to Grant such a default and Relief
 to Petitioner’s Motion.
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     5) Petitioner re-asserts that his claims for Relief based on most recent
Supreme Court Ruling in favor of (Davis), regarding the Residual Clause to
be unconstitutionally vague, when used as an enhancement pursuant to 18 Usc
924(c)(1)(A)(3)(B) and cannot stand; directly affect Petitioner’s case at
bar and when unchallenged, the Court must act in favor of Petitioner’s request
for Relief immediately.

    WHERORE, Petitioner Rabman Fulton, pro se, Respectfully requests this
Honorable court to enter a Default Judgment in this instant matter and to
Grant Relief in this matter as a matter of Rule of Law to include Imediate
Release, pursuant to (Davis) No. 18431; and release from custody, while the
Court further reviews Petitioner’s 2255 Habeas Corpus claims pending outside
of the (Davis) 924(c) matter; and for such other and further relief deemed
proper and necessary in the Interest of Justice.



Date:   July 26, 2019                      R,:ptfully Submitted,



                                           6ahman Fulton   /




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                                     AFFIDAVIT

        I HEREBY CERTIFY that the foregoing facts are true and correct to the

best of my knowlege and belief upon pain of per-jury under 28    usc   §1746.




                                                 Rabman Fulton



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the following pleading was mailed on

this      .) (P    day of                         2019 by first class mail; postage
                                  rj
prepaid to Daniel V. Shapiro (ATJSA)/ 970 Broad Stret, Newark, New Jersey 07102.



                                                 4r-
                                                  abman Fulton
.Ini i.a.L   a—LW 1—   -   l.IJ.   •AIbILb   fldiali   an   111g LiIbIIWL bit Lbfl                   lALii.f I              ‘U   I3).

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             Motions
             2:18-cv-16526-SRC FULTON v.
             UNITED STATES OF AMERICA

             HABEAS,PLO


             Please remember to send iii your courtesy copies to chambers marked (‘ourtesy Copy.
             For further Judge Preference information click here.

                                                                                     U.S. District Court

                                                                        District of New Jersey [LIVE]

             Notice of Electronic Filing

             The following transaction was entered on 7/18/2019 at 3:32 PM EDT and filed on
             7/11/2019
             Case Name:                           FULTON v. UNITED STATES OF AMERICA
             Case Number:                         2:18-cv-16526-SRC
             Filer:           RAHMAN R FULTON
             Document Number: 2

             Docket Text:
             Petitioner’s MOTION to Expedite by RAHMI&N R FULTON. (byl)


             2:18-cv-16526-SRC Notice has been electronically mailed to:

             DANIEL V. SHAPIRO daniel.shapirousdoj.gov, CaseView.ECFusdoj.gov,
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